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                           DECLARATION OF SCOTT FRENCH, M.D.

          1.     I am a board-certified emergency physician with an active practice and significant

  experience in prevention of COVID-19 spread, diagnosing, treating, and managing COVID-19

  patients in several states. In addition, I have extensive prior experience in population

  management and disease management as Chief Medical Officer of a large health plan in

  California.

          2.     My experience also includes full-time faculty positions at Stanford University

  Medical School and University of North Carolina Medical School, and several other part time

  clinical faculty appointments, including the University of Washington, Oregon Health Systems

  University, and Emory University. In my teaching capacity I thus have considerable knowledge

  and experience in teaching immunology, as well viral pathogen prevention, diagnosis, treatment,

  and management.

          3.     I have been asked to provide expert medical testimony by the Plaintiffs in this

  case.

          4.     All medical/public health interventions are ever evolving and based on the best

  available science at the time. The interventions in response to the pandemic COVID-19 in 2020

  provide a prime example of how our understanding of COVID-19 was ever evolving. Initial

  morbidity/mortality expectations were fortunately much less severe than predicted, particularly

  with respect to healthy youth and young adults.

          5.     All medical/public health interventions have beneficial and harmful effects and

  thus it is always prudent to fully explore the risk/benefit ratio of any intervention for an

  individual. A very simplistic yet illustrative example is appendicitis. While there is a risk of

  dying as a result of anesthesia or surgical complications in removing the appendix, the risk of




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  dying without the life-saving surgery and antibiotics is far greater. Thus, in the case of

  appendicitis, there is a favorable risk/benefit in undergoing surgical removal of the appendix.

           6.       Numerous individual factors determine morbidity and mortality, and there are

  often sex and age differences in the complications, as well as morbidity and mortality of a

  pathogen such as COVID-19.

           7.       We must take the same individualized approach with respect to the vaccine

  mandate at the University of Colorado Anschutz Medical Campus, embodied in Administrative

  Policy #3012 dated September 1 and 24, 2021, titled: COVID-19 Vaccination Requirement and

  Compliance.

           8.       As physicians, we are also obliged to follow our Hippocratic Oath of “do no

  harm.”

           9.       During the early phase of the COVID-19 pandemic and prior to the availability of

  vaccinations, medical institutions learned how to protect their staff from spreading COVID-19

  with appropriate precautions including masking, gowning, frequent hand washing, and other

  preventive measures. These were successfully employed and allowed clinicians to carry out their

  duties without harming themselves, their patients, and other staff. I am aware of no studies that

  demonstrate that an outbreak in a hospital occurred due to the clinicians who were adhering to

  the guidelines.

           10.      There will be significant harm to the patients and public in Colorado, due to the

  fact that they will not have access to qualified physicians, and may not get the appropriate care,

  since some of these same physicians will be terminated. We are already seeing this tragic

  outcome being played out across the country.




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          11.     From the standpoint of a practicing physician, intimately involved in preventing,

  diagnosing, and treating COVID-19, I must come to a reasoned conclusion with respect to the

  safety, efficacy, benefit, and harms engendered by the vaccine mandate. In order to come to a

  reasoned conclusion, I based my analysis on currently available relevant medical studies, cases,

  and literature and published official data. The analysis will cover the following areas:

    A. PPE measures instituted by hospitals and medical schools have been effective in
       preventing COVID-19 transmission and spread.

    B. Ethical Behavior of physicians with religious beliefs.

    C. COVID-19 Prevention.

    D. CDC Statistics on Mortality of COVID-19.

    E. Superiority of Natural Immunity in reduction of transmission of COVID-19 and variants,
       fatality, and length of time of immunity.

    F. Effectiveness of COVID-19 vaccine in prevention of COVID-19 disease, including the
       delta variant.

          A. PPE measures instituted by hospitals and medical schools have been effective in
             preventing COVID-19 transmission and spread.

          12.     In March of 2020, hospitals and medical schools established protocols to prevent

  the spread of COVID-19 to health care workers from patients with COVID-19, and transmission

  to other staff and patients.

          13.     Once the protocols were fully implemented, if followed, there were essentially no

  reports of COVID-19 being spread in these settings. Each hospital’s timeline for full

  implementation was different. Some hospitals had full implementation by April, other hospitals

  took several months.

          14.     As a Regional Medical Director of a large physician group during the pre-vaccine

  time frame, I was kept appraised of any breakthrough cases to our physicians and/or hospital




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  outbreak. In my 12-plus ERs and several ICUs in California, once PPE was fully implemented,

  there were no hospital outbreaks caused by physician staff. In addition, once the PPE was fully

  implemented, there was only a rare case where a physician contracted the disease. This mitigated

  some of the intense anxiety and stress of the physician staff. No physician wanted to contract

  COVID-19, nor spread COVID-19. See Ex. 1.

         15.     Physicians took extreme care in protecting their families as well and were

  successful in that that there was no spread of COVID-19 in the home. A search of literature did

  not reveal any physicians causing a COVID -19 outbreak at their hospital after implementation

  of full PPE precautions, including the high at-risk ICU and ER physicians.

         16.     There thus does not appear to be an incremental benefit of vaccination in reducing

  the spread of COVID-19 in healthcare settings where established hygiene and mask wearing

  protocols are fully implemented.

         B. Ethical Behavior of physicians with religious beliefs.

         17.     In a 2014 survey 65.2% of physicians professed a belief in God, and 51.2% self-

  reported themselves as religious. See Ex. 2.

         18.     Since there have not been any reports that the majority of physicians engage in

  unethical behavior, it is safe to assume that religious physicians are ethical. There are no studies

  demonstrating that religious physicians do not practice ethical medicine.

         19.     I am aware there is a well-respected organization in the medical field called the

  “Catholic Medical Association.” That Association of medical providers has specifically stated its

  opposition to vaccine mandates that do not include conscience and religious objections. Found at

  https://www.cathmed.org/resources/catholic-medical-association-opposes-vaccine-mandates-

  without-conscience-and-religious-exemptions/.




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         20.     It is true that religious physicians do not perform abortions, as they see this as

  doing a harm to a human being, which would also be a violation of the Hippocratic Oath.

         C. COVID-19 Prevention.

         21.     While COVID-19 mRNA vaccines have been effective in reducing morbidity and

  mortality among the vulnerable, the evidence indicates that the mRNA vaccines (biologicals) are

  not as effective in preventing infection by the Delta variant COVID-19. Just as in the common

  cold, many viruses mutate so rapidly, vaccines are unable to keep up. Witness influenza A,

  where every year a new vaccine is utilized using “best guess” on which antigens will be

  expressed. While there is great success, it is very far from 100% effective. COVID-19 follows

  viral natural laws, so will continue to mutate in an effort to slip through our immune systems.

  Since the recent data indicates that the COVID19 vaccine is not near 100% in stopping the

  spread of disease, it is thus improper for the University of Colorado Anschutz Medical Campus

  to hold up vaccination as the “cure-all” for prevention of the spread of COVID-19.

  See Ex. 3.

         D. Superiority of Natural Immunity in reduction of transmission of COVID-19 and
            variants, fatality, and length of time of immunity.

         22.     Due to significant advances in understanding immunology and how our immune

  system neutralizes viruses, we have a better understanding of the best approach in fighting highly

  infectious viral diseases. The natural immune system utilizes interferon, cytokines, “natural

  killer” T cells, memory T cells and antibody producing B cells as well as other components of

  the immune system.

         23.     While the mRNA vaccine is a breakthrough for preventing and treating

  COVID19, the usual long-term studies in a wider population sample were not able to be

  performed.



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             24.   21st century immunology has discovered that natural immunity recognizes a broad

  array of antigens on the virus, as opposed to the mRNA COVID-19 biological, which induces

  immunity to the highly mutable spike protein.

             25.   So an illustrative example would be that the mRNA vaccine (biological) looks for

  a virus with a small blue pointed “hat” (spike protein). Our immune system instead looks for and

  targets any “hat” no matter what size, color, shape, or style. In addition, for this analogy, the

  natural immune system also looks for the virus wearing the hat, if shoes are present on the virus,

  and if the virus is wearing pants/shorts/dress/bathing suit of any color, size, or shape.

             26.   This translates into the fact the natural immune system is more likely to find the

  COVID-19 spike protein mutation called delta, in contrast to an individual’s immune system

  with only vaccine induced immunity, which may miss the spike protein variation in delta and

  allow the delta variant to infect the patient and be passed to those who are unvaccinated. This is

  confirmed in several studies including Finland, Israel, and from the Cleveland clinic.

             27.   In addition, due to memory T cells, individuals with natural immunity have much

  longer lasting immunity. See Ex. 4.

             E. Effectiveness of COVID-19 vaccine in prevention of COVID-19 disease,
                including the delta variant.

             28.   Evidence is mounting that the viral natural law of mutations, in order to elude the

  immune system, are operative and have resulted in reduced effectiveness of the original COVID-

  19 vaccination, compared to immunity acquired due to infection by COVID-19 and recovery.

             29.   The UpToDate resource used by many health care professionals has a very robust

  and detailed explanation of the natural immune system, which the mRNA vaccine does not fully

  utilize.




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           30.     A study in Ireland revealed the prolonged immunity of those individuals that

  recovered from COVID-19 infection. Significantly less immunity to delta variant with COVID-

  19 vaccination versus natural immunity was recently shown in a study conducted in Israel. See

  Ex. 5.

           31.     These studies on reduced immunity further support the conclusion that, for

  whatever benefit vaccination provides, it does not substantially reduce the spread of COVID-19

  in healthcare settings where established hygiene and mask wearing protocols are fully

  implemented.

           F. Public harm as well as harm to the physician students due to the vaccine
              mandate.

           32.     A study published on Sept 9, 2021 from the European Journal of Epidemiology

  has as the title of the article: “Increases in COVID-19 are unrelated to levels of vaccination

  across 68 countries and 2947 counties in the United States.” In their summary conclusions the

  authors state:

           In summary, even as efforts should be made to encourage populations to get
           vaccinated it should be done so with humility and respect. Stigmatizing
           populations can do more harm than good. Importantly, other non-pharmacological
           prevention efforts (e.g. the importance of basic public hygiene with regards to
           maintaining safe distance or handwashing, promoting frequent and cheaper forms
           of testing) needs to be renewed in order to strike the balance of learning to live
           with COVID-19 in the same manner we continue to live 100 years later with
           various seasonal alterations of the 1918 Influenza virus.” Attachment 29

  The policy at issue in this lawsuit appears to violate the good counsel of this article, that

  encouraging vaccination be done with “humility and respect” not “stigmatizing.”




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  Executed under penalty of perjury under the laws of the State of Colorado and the United States

  of America, this 19th day of October, 2021.




                                                                    Dr. Scott French




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